    Case 5:18-cv-00548-OLG Document 21 Filed 09/19/18 Page 1 of 2


                                                                                    FILED
                                                                                      SEP    1   9 2018
                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS                      CLERK U.S; DITRjCT C
                                 SAN ANTONIO DIVISION                                DSTRpc

DEPOSITORS INSURANCE COMPANY                         §
                                                     §
versus                                               §       NO. SA: 18-CV-00548-OLG
                                                     §
ASGI, LLC, dlbla SHARP GLASS                         §


                                     SCHEDULING ORDER

       Pursuant to Rule 16, Federal Rules of Civil Procedure, the Court issues the
 Scheduling Order:

         1.A report on alternative dispute resolution in compliance with Rule CV-88 siall be
filed by December 31, 2018.

       2. The parties asserting claims for relief shall submit a written offer of seftlenient to
opposing parties by October 1, 2018, and each opposing party shall respond, in writiig, by
November      1   2018.

       3. The parties shall file all motions to amend or supplement pleadings or o join
additional parties by December 31. 2018.

       4. All parties asserting claims for relief shall file their designation of testifying xperts
and shall serve on all parties, but not file, the materials required by Federal Rule o' Civil
Procedure 26(a)(2)(B) by April 1 2019. Parties resisting claims for relief shall fil' their
designation of testifying experts and shall serve on all parties, but not file, the materials rquired
by Federal Rule of Civil Procedure 26(a)(2)(B) by May 1. 2019. All designations of rbuttal
experts shall be filed within 14 days of receipt of the report of the opposing expert.

        S. An objection to the reliability of an expert's proposed testimony under Federal Iule of
Evidence 702 shall be made by motion, specifically stating the basis for the objecti4n and
identifying the objectionable testimony, not later than 30 days of receipt of the written reçort of
the expert's proposed testimony, or not later than days of the expert's deposition, if a depsition
is taken, whichever is later.

      6. The parties shall complete all discovery on or before July 1, 2019. Counsel nay by
agreement continue discovery beyond the deadline, but there will be no intervention by the Court




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   Case 5:18-cv-00548-OLG Document 21 Filed 09/19/18 Page 2 of 2




except in extraordinary circumstances, and no trial setting will be vacated because of
obtained in post-deadline discovery.

       7.    All dispositive motions as defined in Rule CV-7(c) shall be filed no           than
August 1    2019.

       8.  This case is set for trial4dockct c4l,, or jury selection] on September ,L3
at 9:30 a.m. The parties should consult Rule CV-l6 regarding matters to be filed in advan   of
trial.

       SIGNED this        J
                              day of                          ,   2018.




                                                  UNITED STATES DISTRICT JUDGE




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